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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.


  SPRING FOOTWEAR CORP., d/b/a
  SPRING STEP SHOES, a Florida
  for-profit corporation,

        Defendant.
  _________________________________/

                                             COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant SPRING

  FOOTWEAR CORP., d/b/a SPRING STEP SHOES, a Florida for-profit corporation, and alleges

  as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This is also an action for declaratory and injunctive relief to prevent the continuing act of trespass

  against the Plaintiff’s personal property (his personal computer and its hard drive), and for

  compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

  trespass are not exclusive and may be sought in connection with suits brought under the ADA.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief




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  pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  As a result of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and only has very limited use of his left hand. Further as a consequence of his disease,

  Plaintiff has developed optic neuritis and is visually disabled, with complete blindness in one eye

  and very limited vision in the other eye. Plaintiff thus is substantially limited in performing one

  or more major life activities, including, but not limited to, seeing and accurately visualizing his

  world and adequately traversing obstacles. As such, he is a member of a protected class under the

  ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR

  §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of

  similarly situated disabled persons and is a “tester” for the purposes of asserting his civil rights

  and monitoring, ensuring, and determining whether places of public accommodation and/or their

  respective and associated websites are in compliance with the ADA, the Rehab Act, and any other

  applicable disability laws, regulations, and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software, and other technology



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  and assistance. Screen reader software translates the visual internet into an auditory equivalent.

  At a rapid pace, the software reads the content of a webpage to the user. “The screen reading

  software uses auditory cues to allow a visually impaired user to effectively use websites. For

  example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’ which

  will bring him to another webpage, through visual cues, such as a change in the color of the text

  (often text is turned from black to blue). When the sighted user's cursor hovers over the link, it

  changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather than

  visual -- cues to relay this same information. When a sight impaired individual reaches a link that

  may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the link

  says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

  visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida.      Defendant owns, operates, and/or controls footwear and

  accessories stores, including one of the stores that Plaintiff intended to patronize in the near future

  located in the Palm Beach Outlets, West Palm Beach, Florida.

           8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

           9.    Plaintiff frequently accesses the internet.        Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available




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  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls footwear and accessories stores under the brand name “Spring Step

  Shoes”. Each Spring Step Shoes store is open to the public. As the owner and operator of these

  retail stores, Defendant is defined as a place of “public accommodation" within meaning of Title

  III because Defendant is a private entity which owns and/or operates “a bakery, grocery store,

  clothing store, hardware store, shopping center, or other sales or rental establishment,” per 42

  U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA, 42 U.S.C.

  §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://www.springstepshoes.com (the “Website”). One of the functions of the Website is to

  provide the public information on the locations of Defendant’s stores through a “store locator”

  feature . Defendant also sells to the public its merchandise through the Website, which acts as a

  point of sale for merchandise available in, from, and through Defendant’s physical stores.

         13.     The Website also services Defendant’s physical stores by providing information on

  its available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, purchase gift cards for use online and in the physical stores, and sign up



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  for an emailer to receive exclusive online offers, benefits, invitations, and discounts for use online

  and in the physical stores, the Website has a nexus to, and is an extension of and gateway to, the

  goods, services, privileges, and advantages of Defendant’s physical stores, which are places of

  public accommodation under the ADA. As an extension of and service, privilege, and advantage

  provided by a place of public accommodation as defined under the ADA, the Website is an

  extension of the services, privileges, and advantages made available to the general public by

  Defendant at and through its brick-and-mortar locations and businesses. Furthermore, the Website

  is a necessary service and privilege of Defendant’s physical stores in that, as a point of sale for

  Defendant’s stores, it enables users of the Website to make online purchases of Defendant’s

  merchandise that is available from and in its physical stores.

          15.     Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point

  of sale for Defendant’s products that are also sold in the physical stores, purchase gift cards to

  make purchases both online and in the physical stores, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,

  the Website is an extension of and gateway to the physical stores, which are places of public

  accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a

  necessary service, privilege, and advantage of Defendant’s brick-and-mortar stores that must

  comply with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the same full and equal access to and enjoyment

  of the goods, services, privileges, and advantages afforded the non-visually disabled public both

  online and in the physical stores.




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         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with visual disabilities, and must not deny those individuals the same full and

  equal access to and enjoyment of the goods, services, privileges, and advantages as afforded the

  non-visually disabled public both online and in the physical stores. As such, Defendant has

  subjected itself and the Website to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store located in the Palm Beach Outlets in West Palm

  Beach, Florida), and to search for the brick-and-mortar stores, check store hours and merchandise

  pricing, purchase merchandise and gift cards, and sign up for an emailer to receive exclusive offers,

  benefits, invitations, and discounts for use at the Website or in Defendant’s physical stores. In the

  alternative, Plaintiff intends to monitor the Website in the near future as a tester to ascertain

  whether it has been remedied and updated to interact properly with screen reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift cards

  online, and sign up for an emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use both online and in the physical stores from his home are important and necessary

  accommodations for Plaintiff because traveling outside of his home as a visually disabled

  individual is often a difficult, hazardous, frightening, frustrating, and confusing experience.

  Defendant has not provided its business information in any other digital format that is accessible

  for use by blind and visually impaired individuals using the screen reader software.



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         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits and compare merchandise, prices, sales, discounts, and promotions. Plaintiff may

  look at several dozens of sites to compare features, discounts, promotions, and prices.

         20.     During the month of February 2022, Plaintiff attempted on a number of occasions

  to utilize the Website to browse through the merchandise and online offers to educate himself as

  to the merchandise, sales, discounts, and promotions being offered, learn about the brick-and-

  mortar stores, check store hours, and check merchandise pricing with the intent to make a purchase

  through the Website or in one of the physical stores. Plaintiff, also attempted to access and utilize

  the Website in his capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as himself who use screen reader software to access and navigate company

  websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

         a. Home page button/company logo is mislabeled;

         b. Promotional images are mislabeled as "link";

         c. Once a product is selected the product price, only 6 items in stock, description, and size
         chart are not accessible;

         d. Inside the shopping cart, the shipping protection amount, item price, and subtotal are
         not labeled to integrate with the screen reader; and

         e. On the contact us, at the footer the website, the company hours of operation, telephone
         number, customer service and beyond are inaccessible.




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         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the

  Website. However, Plaintiff was unable to do so because no such link or notice, statement, or

  policy existed on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Website, but he

  is presently unable to fully do so as he is unable to effectively communicate with Defendant due

  to his severe visual disability and the Website’s access barriers. Alternatively, as a tester using

  screen reader software, Plaintiff is unable to effectively access, navigate, and communicate with

  Defendant through the Website due to his severe blindness and visual disability and the Website’s

  access barriers. Thus, Plaintiff, as well as others who are blind and with visual disabilities, will

  suffer continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and

  practices as set forth herein unless properly enjoined by this Court.

         26.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s retail stores for



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  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-

  visually disabled public both online and in the physical stores, which are places of public

  accommodations subject to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.



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             35.   Defendant has not created and instituted on the Website a page for individuals with

   disabilities, nor displayed a link and information hotline, nor created an information portal

   explaining when and how Defendant will have the Website, applications, and digital assets

   accessible to the visually disabled or blind community.

             36.   The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

             37.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of purchasing Defendant’s merchandise offered on the Website online from their

   homes.

             38.   Thus, Defendant has not provided full and equal access to, and enjoyment of, the

   goods, services, facilities, privileges, advantages, and accommodations provided by and through

   the Website in contravention of the ADA.

             39.   Further, public accommodations under the ADA must ensure that their places of

   public accommodation provide effective communication for all members of the general public,

   including individuals with visual disabilities such as Plaintiff.

             40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping Websites, such as the Website at issue in the instant

   action.

             41.   Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.



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          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities, including Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                                            Trespass Violations

          48.     Plaintiff utilizes his computer to access websites such as the Website.

          49.     Plaintiff uses his computer as a method of conveyance of his personal information.

   Plaintiff thus stores his personal information and retains his browsing history on his computer.

          50.     When a user accesses the Website, Defendant places information tracking and

   gathering software on the user’s personal computer and hard drive without the user’s advance

   consent or knowledge. Defendant also plants browser cookies on a user’s computer and hard drive

   to identify websites that the user has previously visited by accessing the user’s web browser

   history.



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          51.     Defendant informs the Website user that the user’s personal information and

   browsing history is collected and is used for targeted marketing and advertising.           However,

   because of his blindness, Plaintiff was unable to comprehend the Website; therefore, Plaintiff had

   no choice, and likewise no knowledge, of Defendant’s installation of data and information tracking

   and gathering software on his computer and the collection of Plaintiff’s browsing history and

   analytics.

          52.     Thus, through the Website, Defendant has committed a trespass against Plaintiff,

   since the Website places information tracking and gathering software on the Plaintiff’s computer

   without Plaintiff’s knowledge or consent.

                              COUNT I – VIOLATION OF THE ADA

          53.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          54.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA and thus is subject to the ADA.

          55.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s stores,

   purchase merchandise that is also available for purchase from and in the physical stores, purchase

   gift cards for use both online and in the physical stores, and sign up for an emailer to receive

   exclusive online offers, benefits, invitations, and discounts for use both online and in the physical

   stores. The Website thus is an extension of, gateway to, and intangible service, privilege, and

   advantage of Defendant’s physical stores. Further, the Website also serves to augment Defendant’s

   physical stores by providing the public information about the physical stores and by educating the

   public as to Defendant’s available merchandise sold through the Website and in the physical stores.




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          56.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          57.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          58.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          59.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          60.     Because of the inaccessibility of the Website, individuals with disabilities who are

   blind and visually disabled are denied full and equal access to and enjoyment of the goods,

   information, and services that Defendant has made available to the public on the Website and in




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   its physical stores in violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182,

   et seq.

             61.   The Website was subsequently visited by Plaintiff’s expert in March 2022, and the

   expert determination was that the same access barriers that Plaintiff had initially encountered, as

   well as numerous additional access barriers, existed. Defendant thus has made insufficient

   material changes or improvements to the Website to enable its full use and enjoyment by, and

   accessibility to, blind and visually disabled persons such as Plaintiff. Defendant furthermore has

   not disclosed to the public any intended audits, changes, or lawsuits to correct the inaccessibility

   of the Website to visually disabled individuals, nor has it posted on the Website an effective

   “accessibility” notice, statement, or policy to provide blind and visually disabled person such as

   Plaintiff with a viable alternative means to access and navigate the Website. Defendant thus has

   failed to make reasonable modifications in its policies, practices, or procedures when such

   modifications are necessary to afford goods, services, facilities, privileges, advantages, or

   accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

   viable and effective “accessibility” notice, policy, or statement and the numerous access barriers

   as alleged herein and as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached

   hereto as Composite Exhibit “A” and the contents of which are incorporated herein by reference,

   continue to render the Website not fully accessible to users who are blind and visually disabled,

   including Plaintiff.


             62.   More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.




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           63.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           64.     There are readily available, well-established guidelines on the internet for making

   Websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

           65.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Website by individuals such as Plaintiff with visual disabilities who require the

   assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Website are ongoing.

           66.     The ADA requires that public accommodations and places of public

   accommodation ensure that communication is effective.

           67.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”.                 Indeed, 28 C.F.R.

   §36.303(b)(2) specifically states that screen reader software is an effective method of making

   visually delivered material available to individuals who are blind or have low vision.

           68.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided



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   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          69.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          70.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          71.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website, with a nexus to its brick-and-mortar physical stores, Plaintiff has suffered an

   injury in fact by being denied full access to, enjoyment of, and communication with Defendant’s

   Website and its physical stores.

          72.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          73.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

   of the goods, services, facilities, privileges, advantages, and accommodations through the Website.




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          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being made readily accessible, provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical stores and becoming informed of and purchasing

   Defendant’s merchandise, and during that time period prior to the Website’s being designed to

   permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website.

          74.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

                to monitor and update the Website on an ongoing basis, to remove barriers in order that

                individuals with visual disabilities can access, and continue to access, the Website and




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           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop




   1
                    or similar.
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                programs or code for, or who publish final content to, the Website on how to conform

                all web content and services with ADA accessibility requirements and applicable

                accessibility guidelines;

          I. An Order directing Defendant, by a date certain and at least once every three months

                thereafter, to conduct automated accessibility tests of the Website to identify any

                instances where the Website is no longer in conformance with the accessibility

                requirements of the ADA and any applicable accessibility guidelines, and further

                directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                counsel for review;

          J. An Order directing Defendant, by a date certain, to make publicly available and directly

                link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                ensure the persons with disabilities have full and equal enjoyment of the Website and

                shall accompany the public policy statement with an accessible means of submitting

                accessibility questions and problems;

          K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

          L. Such other and further relief as the Court deems just and equitable.

                                            COUNT II – TRESPASS

          75.      Plaintiff re-alleges paragraphs 1 through 52 as if set forth fully herein.

          76.      Plaintiff’s tangible personal property, being his computer and the personal

   information and browsing history stored therein, has suffered a trespass by Defendant on each and

   every date that the Plaintiff has accessed Defendant’s Website, due to Defendant’s employment of

   information tracking and gathering software and analytics which are present on and through the

   Website.



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           77.     At all relevant times, Plaintiff did not consent to and was unaware that the Website

   was placing the information tracking and gathering software on his computer and its hard drive

   due to his visual disability and his inability to effectively communicate with and fully view and

   access the Website.

           78.     Plaintiff did not consent to the placement of information tracking and gathering

   software on his computer and its hard drive; therefore, Defendant has committed a trespass against

   Plaintiff by placing such software on his computer and its hard drive without his knowledge or

   consent.

           79.     By the acts described hereinabove, Defendant has repeatedly and persistently

   engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

   trespass to chattel.

           80.     Defendant’s installation, operation, and execution of information tracking and

   gathering software on Plaintiff’s computer have directly and proximately impaired the condition

   and value of the Plaintiff’s computer, thereby causing Plaintiff damages.

           81.     The Website has a “Privacy Policy” that discusses the automatic gathering of

   information from and the automatic placement of cookies and other information gathering software

   on, computers of users of the Website such as Plaintiff. A copy of that “Privacy Policy” is attached

   hereto as Exhibit “B” and its contents are incorporated herein by reference.

           82.     Defendant’s trespass to chattel, nuisance, and interference has caused real and

   substantial damage to Plaintiff as follows:

           a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

   computer (including space, memory, processing cycles, and internet connectivity);

           b) By infringing on Plaintiff’s right to exclude others from his computer;



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          c) By infringing on Plaintiff’s right to determine, as the owner of his computer , which

   programs should be installed and operated on his computer;

          d) By compromising the integrity, security, and ownership of Plaintiff’s computer ; and

          e) By forcing Plaintiff to expend money, time, and resources in order to remove the

   programs that had been installed on his computer without notice or consent.

          83.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

   disregard for Plaintiff’s rights under the law.

          WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

   Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

   and equitable.

          DATED: May 17, 2022.

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   By:    s/ Roderick V. Hannah                           By:    s/ Pelayo M. Duran
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